                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

RUTH SMITH, Individually and as Widow                )
for the Use and Benefit of Herself and the           )
Next of Kin of RICHARD SMITH, Deceased,              )        Case #: 3:05-00444
                                                     )        Judge Trauger
                               Plaintiff,            )
                                                     )
                -against-                            )
                                                     )
PFIZER INC., PARKE-DAVIS,                            )
a division of Warner-Lambert Company                 )
and Warner-Lambert Company LLC,                      )
WARNER-LAMBERT COMPANY,                              )
WARNER-LAMBERT COMPANY LLC and                       )
JOHN DOE(S) 1-10,                                    )
                                                     )
                               Defendants.           )

                    DECLARATION OF KENNETH B. FROMSON, ESQ.
                 IN OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
                   TO EXCLUDE ALL EVIDENCE OF OR REFERENCES
                      TO CONDUCT UNRELATED TO NEURONTIN

        I, Kenneth B. Fromson, depose and state as follows:

        1.       I am a partner with the law firm of Finkelstein & Partners, LLP, attorneys for the

Plaintiff in this matter.

        2.       This declaration is submitted in opposition to Defendants’ Motion in Limine to

Exclude All Evidence of or References to Conduct Unrelated to Neurontin.

        3.      The following documents are attached hereto in opposition to Defendants’

motion:

        Exhibit A - Settlement Agreement among Pfizer Inc., the United States Department of
                    Justice and certain other government agencies, dated August 2009

        Exhibit B - Attachment A to the Settlement Agreement, dated August 2009




   Case 3:05-cv-00444 Document 158 Filed 04/27/10 Page 1 of 3 PageID #: 3295
      Exhibit C - Letter and Acknowledgement re Pharmacia Plea Agreement, dated August
                  31, 2009

      Exhibit D - Pharmacia Criminal Information

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: April 27, 2010

                                                  /s/ Kenneth B. Fromson
                                                  Kenneth B. Fromson
                                                  FINKELSTEIN & PARTNERS, LLP
                                                  1279 Route 300, P.O. Box 1111
                                                  Newburgh, NY 12551
                                                  (800) 634-1212

                                                  Attorneys for Plaintiff Ruth Smith




                                    2
  Case 3:05-cv-00444 Document 158 Filed 04/27/10 Page 2 of 3 PageID #: 3296
                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 27th day of April, 2010, I electronically filed the

foregoing document with the Clerk of the Court, United States District Court for the Middle

District of Tennessee, using the CM/ECF system. True and correct copies of the foregoing

documents are being served via the Court's CM/ECF system on the following:

       Aubrey B. Harwell, Jr., Esq.
       W. David Bridgers, Esq.
       Gerald D. Neenan, Esq.
       Robert A. Peal, Esq.
       Neal & Harwell, PLC
       2000 One Nashville Place
       150 Fourth Avenue, North
       Nashville, TN 37219

       Prince C. Chambliss, Jr., Esq.
       Evans & Petree, PC
       1000 Ridgeway Loop Road, Suite 200
       Memphis, TN 38120

       Mark S. Cheffo, Esq.
       Catherine B. Stevens, Esq.
       Skadden, Arps, Slate, Meagher & Flom LLP
       Four Times Square
       New York, NY 10036


                                                  /s/ Kenneth B. Fromson
                                                  Kenneth B. Fromson




                                    3
  Case 3:05-cv-00444 Document 158 Filed 04/27/10 Page 3 of 3 PageID #: 3297
